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                        Exhibit E




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                                   ~tt~rnru ~e.rral
                                   Jul7 30, 1979

         Law Offices of
         Dobbins, Weir, Thompson
             & Stephenson
         500 Main Street
         Vacaville~ California 95688
         Attention:     Donald P. Stephenson, Esq.
                      Re:   People v. Pacific Wood Preservation
                            Corporation, et al.
                            Solano Superior Court No. 72764
         Dear Mr. Stephenson:
                    We have reviewed this entire matter with our
         client in light of the points raised in your recent letter.
         Of particulariconcern to our client is the fact the plant
         manager (Mr. Murphy) and the acting plant manager (Mr.
         Bonifacio) were requested on three separate occasions in
         January and February 1979 to cease the practice of allowing
         chemical contaminants from the plant to reach surface
         water drainage courses. When these facts ~re coupled with
         the existence of a clean-up and abatement ~der issued
         March 2, 1978, directing correction of the ~ischarge
         violations your client was continuing to perpetrate, our
         office and our client could only conclude that the laws
         prohibiting such discharges and at least the spirit of
         the order involved, if not the order itself, were being
         intentionally ignored. Accordingly, we do not feel that a
         $2,500,penal!ty constitutes an adequate disposition of your
         client s failure to comply with the law or the clean-up
         and abatement order involved, and your offer is rejected.
         Our officer,~! however, is-willing to recommend te our client
         ~hat it accept $7,500 in full settlement of this matter.
       ~will notirecommend settlement at a lower figure. Please
       o a~e us nO later than August 31, 1979 whether you wish to
       ~ s~ for $7,500. If your client does not wish to settle
       ~fO~’’~ls amount, your answer or other responsive pleading
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       ~mu~e filed by that same August 31, 1979 date.
                                      Very truly yours,
                                      George DeukmeJlan
                                      Attg~ey General

                                      Walter E. Wunderlich
                                      Deputy AttorneyGeneral\




                                      DTSC, et al. v. Jim Dobbas, Inc., et al.
                                                                    DTSC029255
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